34 F.3d 1065NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.
    Anna CARROLL, ET AL., Plaintiffs-Appellees,v.BLUE CROSS/BLUE SHIELD OF MASSACHUSETTS, Defendant-Appellant.
    No. 94-1336
    United States Court of Appeals,First Circuit.
    September 2, 1994
    
      Appeal from the United States District Court for the District of Massachusetts [Hon.  Robert E. Keeton, U.S. District Judge ]
      Lisa M. Fleming, with whom Laura Panos, were on brief for appellant.
      Stephen M. Perry, with whom Thomas J. Walsh, Robert M. Mendillo and Casner &amp; Edwards were on brief for appellees.
      D.Mass.
      AFFIRMED.
      Before Selya and Cyr, Circuit Judges, and Zobel,* District Judge.
      Per Curiam.
    
    
      1
      Appellant Blue Cross Blue Shield of Massachusetts, Inc.  (the "Company") in 1991 had promulgated an Organizational Change Policy (the "Policy") pursuant to which employees were to receive severance benefits when their positions were eliminated under defined circumstances.  In 1992, the Company entered into an information systems and services outsourcing agreement with Electronic Data Services, Inc.  ("EDS").  Pursuant to that agreement appellees who had performed information services work as Company employees became employed by EDS.  They claimed severance benefits under the Policy above.
    
    
      2
      We agree with the district court's determination that the Company's Policy excluded only internal transfers from its severance benefit provisions.  Appellant concedes that the "transfers" at issue were not internal transfers.  The Policy's unambiguous language provided for severance benefits to employees terminated from their positions at the Company, even if those same employees obtained immediate employment elsewhere.  Accordingly, appellees are entitled to the benefits for which they sued;  there was no need for the court to consider extrinsic evidence to ascertain the parties' intent.
    
    
      3
      Appellant's reliance on our recent decision in  Allen v. Adage, Inc., 967 F.2d 695 (1st Cir. 1992), is misplaced.   Allen held that in the absence of ambiguity, the language of the plan determines employee eligibility for benefits.  See id. at 701;   Bellino v. Schlumberger Technologies, 944 F.2d 26, 29-30 (1st Cir. 1991).  It did not hold that outsourcing agreements such as the one at bar shall never entitle employees to severance benefits.   See Allen, 967 F.2d at 700-01;   Bellino, 944 F.2d at 30.
    
    
      4
      The Company's remaining arguments concern the district court's measure of damages.  The Policy itself defined the proper measure of damages, thus such payments are not punitive and neither offset nor integration is required.  Had appellant intended severance payments to be offset by money or benefits its former employees earned elsewhere, it need merely have said as much in the Policy.
    
    
      5
      Affirmed.
    
    
      
        *
         Of the District of Massachusetts, sitting by designation
      
    
    